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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

METROPOLITAN ST. LOUIS EQUAL                      )
HOUSING & OPPORTUNITY COUNCIL,                    )
                                                  )
       Plaintiff,                                 ) Case No.: 4:13-cv-00481-HEA
                                                  )
vs.                                               )
                                                  )
NORMAN L. JEZEWAK, and                            ) JURY TRIAL DEMANDED
SIGNATURE PROPERTY, L.L.C.,                       )
                                                  )
       Defendants.                                )

                    RESPONSE TO MOTION FOR SUMMARY JUDGMENT

       Defendants’ Motion for Summary Judgment alleges that Plaintiff, the Metropolitan St.

Louis Equal Housing & Opportunity Council (“EHOC”), lacks standing to bring an action for

violation of the Fair Housing Act, 42 U.S.C. §§ 3601 et al., (“FHA”) based on Defendants’

discriminatory conduct against EHOC’s testers during civil rights tests conducted at property

owned and/or managed by Defendants. This argument directly contravenes the Supreme Court’s

holding in Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982), which establishes that

fair housing organizations, like EHOC, have standing to address civil rights violations uncovered

by testers. By diverting time and resources from its other activities to testing the Defendants’

property, EHOC has expended costs that are directly attributable to Defendants and independent

of this lawsuit. Accordingly, EHOC has established standing to bring this action against

Defendants.

                                      Facts and Procedure

       EHOC brought action against the Defendants in this case alleging that they violated the

FHA by taking the following discriminatory actions because of race, color, and or familial status:




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refusing to rent a dwelling; discriminating in the terms, conditions, or privileges of rental of a

dwelling; falsely representing that rental dwellings were not available; making discriminatory

statements with respect to rental of a dwelling; and otherwise making rental dwellings

unavailable. (Pl. First Am. Compl. at ¶ 19.)

         EHOC’s mission is “to ensure equal access to all housing for all people through

education, counseling, investigation, and enforcement.” (Defs. Statement of Uncontroverted

Material Facts (“Defs. SUMF”) at ¶ 1.) One of the tools that EHOC uses is matched pair testing,

which is a technique to uncover hidden discrimination by evaluating how housing providers treat

two similarly situated testers, one of whom is a member of a protected class and the other of

whom is not. (Defs. SUMF at ¶¶ 3-4.) EHOC’s complaint against Defendants is based on three

matched pair tests conducted in 2011. (Defs. SUMF at ¶ 15.)

         EHOC conducted a matched pair test for family status discrimination at Defendants’

property on June 6-8, 2011 using two African American females. (Defs. SUMF at ¶ 17.) Based

on the results of those tests, EHOC determined that there was evidence of familial status

discrimination. (Defs. SUMF at ¶ 23.) Additionally, because the Defendants gave inconsistent,

and potentially pretextual, information to EHOC’s testers and ultimately refused to negotiate

with an African American tester (Defs. Ex.1 9, Tester’s Telephone Narrative of Tiaa Harris),

EHOC determined that there was circumstantial evidence of racial discrimination that required

further investigation. (Defs. Ex. 12, Pl.’s Answers to Defs.’ First Interrogs. at ¶ 5.)

         Based on the results of the June test, EHOC conducted two additional, matched-pair tests

of the Defendants’ property. (Defs. SUMF at ¶ 25, ¶ 35.) One set of follow-up tests, in July

2011, was designed to test for racial discrimination (Defs. SUMF at ¶ 25.), and a second set in


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 All references to “Defs. Ex.” refer to the exhibits attached by Defendants to the Statement of
Uncontroverted Material Facts submitted with their present Motion for Summary Judgment.


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September 2011 was designed to test familial status discrimination. (Defs. SUMF at ¶ 35). In

analyzing all three tests, EHOC determined that there was evidence of discrimination based on

familial status, as well as race and/or color. (Defs. SUMF at ¶ 25; Defs. Ex. 8, Combs Decl. at ¶¶

10-12; Defs. Ex. 12, Pl.’s Answers to Defs.’ First Interrogs. at ¶ 5.)

       All three matched pair tests were designed and coordinated by Katina Combs, EHOC’s

Testing Coordinator. (Defs. SUMF at ¶ 14.) Ms. Combs spent a total of 70 hours conducting all

three sets of matched pair tests, and has continued to devote time on this case. (Defs. Ex. 10,

Time Sheet for Testing of Defs.) Ms. Combs is compensated for 2080 hours of work annually.

(Defs. SUMF at ¶ 13.) Ms. Combs kept contemporaneous record of her time investigating the

Defendants’ property, including identifying the date of the task, the nature of the task, and the

time worked on each task. (Defs. Ex. 10, Time Sheet for Testing of Defs.) EHOC has determined

the hourly rate for Ms. Combs’s time by taking the sum of her salary and benefits, as well as a

proportional share of the overall overhead expense, and divided that sum by 2080. (Pl. Ex. 4,

Katina Combs Salary (2011).)

 I.    Summary Judgment Standard

       Summary judgment is only appropriate where “there is no genuine issue of material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The moving

party bears the responsibility of informing the court of the basis for the motion, and must identify

those portions of the record which the movant believes demonstrate the absence of a genuine

issue of material fact. Torgerson v. City of Rochester, 643 F.3d 1031, 1042 (8th Cir.2011) (en

banc). The nonmovant must come forward with some “concrete evidence from which a

reasonable juror could return a verdict in his favor.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 252 (1986). Credibility determinations, the weighing of the evidence, and the drawing of




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legitimate inferences from the facts are jury functions, not those of a judge. Id. “The evidence of

the nonmovant is to be believed, and all justifiable inferences are to be drawn in his favor.” Id. at

251-52.

 II.    Fair housing organizations can establish standing through testing in claims brought
        under the Fair Housing Act.

        The language of the FHA “show[s] a congressional intention to define standing as

broadly as is permitted by Article III of the Constitution.” Trafficante v. Metropolitan Life Ins.

Co., 409 U.S. 205, 209 (1972) (internal citation omitted). As a result, courts “lack authority to

create prudential barriers to standing” in claims brought under the FHA. Havens Realty Corp. v.

Coleman, 455 U.S. 363, 372 (1982). “[T]he sole requirement for a fair housing organization to

have standing to sue in its own right under the FHA is the Article III standard of an injury-in-

fact.” Arkansas ACORN Fair Housing, Inc. v. Greystone Dev. Co., 160 F.3d 433, 434 (8th Cir.

1998) (citing Havens, 455 U.S. at 372). Plaintiffs sufficiently state an injury-in-fact by alleging

“distinct and palpable injuries that are ‘fairly traceable’ to [defendant’s] actions.” Id. (citing

Havens at 376 and Spann v. Colonial Village, Inc., 899 F.2d 24, 27 (D.C.Cir.1990)).

        The Supreme Court has made clear that where a defendant’s discriminatory actions have

“perceptibly impaired [a fair housing organization’s] ability to provide housing counseling and

referral services – with a consequent drain on the organization’s resources – there can be no

question that the organization has suffered the requisite injury-in-fact.” Havens at 379. Instead of

looking at precisely what resources were diverted because of a specific act of discrimination,

courts look broadly at the “deflection of the agency’s time and money from counseling to legal

efforts directed against discrimination.” Village of Bellwood v. Dwivedi, 895 F.2d 1521, 1526

(7th Cir. 1990). This deflection represents the “opportunity costs of discrimination, since

although the counseling is not impaired directly there would be more of it were it not for the



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defendant’s discrimination.” Id. While the court in Dwivedi finds that tester standing “is, as an

original matter, dubious” and goes so far as to say that “the idea that [testers’] legal rights have

been invaded seems an arch-formalism,” it ultimately concludes that Havens compels the court

to affirm standing for both testers and the fair housing organizations that employ them. Id. at

1526. It bases its finding on the rationale that “Congress can create new substantive rights . . .

and if that right is invaded the holder of the right can sue without running afoul of Article III,

even if he incurs no other injury.” Id. at 1526-27.

       “Nothing in Havens suggests that a fair housing organization lacks standing to recover

for damages proximately caused by unlawful conduct toward its testers.” Cent. Alabama Fair

Hous. Ctr., Inc. v. Lowder Realty, 236 F.3d 629, 642 (11th Cir. 2001). Where an organization

alleges diversion of resources through discrimination against its testers, “the organization is

clearly not seeking or inflicting its own injury; the injury is inflicted by the defendants.” Id.

“There is an obvious difference between the situation . . . where an organization manufacturers

[sic] the injury necessary to maintain a suit by expending resources on that very suit . . . and the

situation where an organization incurs diversion of resources and frustration of purpose damages

as a result of specific documented incidents of unlawful discrimination toward its testers.” Id.

       Since Havens, the Circuit Courts have consistently held that fair housing organizations

can establish standing through testing. E.g. Cabrera v. Jakabovitz, 24 F.3d 372 (2d Cir. 1994)

(allowing a fair housing organization to recover damages based on the defendants' unlawful

discrimination toward its testers where organization, acting on its own initiative rather than in

response to a specific complaint, sent testers to investigate racial steering claims); Alexander v.

Riga, 208 F.3d 419, 427 n.4 (3d Cir. 2000) (upholding standing where organization “diverted

resources to investigate” via testing); Hooker v. Weathers, 990 F.2d 913, 915 (6th Cir. 1993)




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(finding standing where organization “devoted resources to investigating the defendants’

practices and alleges that it has confirmed that defendants do discriminate on the basis of familial

status”); Dwivedi, 895 F.2d at 1526 (7th Cir. 1990) (holding that “the only injury which need be

shown to confer standing on a fair-housing agency is deflection of the agency's time and money

from counseling to legal efforts directed against discrimination” even where “counseling is not

impaired directly”); Fair Hous. of Marin v. Combs, 285 F.3d 899, 905 (9th Cir. 2002) (upholding

standing where organization diverted resources to investigate defendants through testing); Cent.

Alabama, 236 F.3d at 642 (11th Cir. 2000) (rejecting argument that allowing standing based on

discrimination towards testers permitted fair housing organization to “create its own injury”).

       “Where a fair housing agency conducts tests or other investigatory measures to identify

unlawful housing discrimination, the agency suffers a redressable injury in court because its

resources have been diverted and its mission to eliminate housing discrimination has been

frustrated.” S. Cal. Hous. Rights Ctr. v. Krug, 564 F.Supp.2d 1138, 1149 (C.D.Cal. 2007).


 III. EHOC has established standing by articulating frustration of purpose and diversion
      of resources that are fairly traceable to Defendants and not self-inflicted.

       The Supreme Court has held that a “concrete and demonstrable injury to the

organization’s activities” is established where a plaintiff can show that it had “been frustrated by

defendants’ racial steering practices in its efforts to assist equal access to housing through

counseling and other referral services . . . [and] had to devote significant resources to identify

and counteract the defendant’s [sic] racially discriminatory steering practices.” See Havens at

379 (notation in original). Since Havens, courts have split over whether an organization must

prove both frustration of purpose and diversion of resources to demonstrate injury-in-fact or

whether a showing either frustration or diversion is sufficient. Compare Smith v. Pacific Prop.

and Dev. Corp., 383 F.3d 1097, 1105 (9th Cir. 2004) (“[A]n organization may satisfy the Article


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III requirement of injury-in-fact if it can demonstrate: (1) frustration of its organizational

mission; and (2) diversion of its resources to combat the particular housing discrimination in

question.”) with Equal Rights Center v. Equity Residential, 483 F.Supp. 2d 482, 486 (D. Md.

2007) (“To allege a redressable injury-in-fact caused by defendants under the FHA, plaintiff

need only allege facts that demonstrate that the defendants’ actions either have caused the

organization to divert resources to identify and counteract the defendants’ unlawful practices, or

that the challenged actions have frustrated plaintiff’s mission.”).

       Under either standard, Defendants’ motion must fail because EHOC has produced

sufficient evidence to demonstrate both frustration of purpose and diversion of resources. As

EHOC’s damages stem from an investigation and follow-up investigations specifically targeting

Defendants and were not self-inflicted, its injuries are fairly traceable to Defendants.

       a. Defendants’ discriminatory actions have frustrated EHOC’s purpose.

       In support of their motion for summary judgment, Defendants’ assert that “frustration of

purpose is nothing more than an abstract social goal, and not a concrete injury-in-fact required to

confer standing to the EHOC in this matter.” (Defs.’ Mem. In Supp. of their Joint Mot. For

Summ. J. at 6.) This is a blatant misstatement of the law. In Fair Housing Council of Suburban

Philadelphia v. Montgomery Newspapers, 141 F.3d 71, 76 (3d Cir. 1998), the Third Circuit

reviewed a nearly identical statement by a district court: “frustration of mission . . . cannot

constitute, as a matter of law, an ‘injury in fact.’” The Third Circuit rejected this assertion

outright, stating, “This is not an accurate statement of the law. Havens made clear that where

discriminatory practices have perceptibly impaired an organization’s ability to carry out its




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mission, there can be no question that the organization has suffered injury in fact.” (internal

citations and quotations omitted).2

         Where a plaintiff, like EHOC is “organized with the principal purpose of helping to

eliminate discrimination against individuals . . . by ensuring compliance with laws intended to

provide access to housing . . . [a]ny violation of the FHA[] would therefore constitute a

frustration of [its] mission.” Smith v. Pacific Prop. and Dev. Corp., 358 F.3d at 1105 (internal

citations omitted). “That the alleged injury results from the organization’s noneconomic interest

in encouraging open housing does not affect the nature of the injury suffered.” Havens at 380 n.

20. In Heights Community Congress v. Hilltop Realty, Inc., 774 F.2d 135, 137 (6th Cir. 1985),

the plaintiff was awarded a declaratory judgment but received only $1 in nominal damages and

no injunctive relief. Despite the limited nature of the relief, the judgment was upheld in the face

of a challenge to the organization’s standing because the evidence supported a finding that the

defendants’ steering practices had impaired the organizations ability to carry out its policy of

maintaining an open and integrated community. Id. at 139 n.2.

         In this case, Defendants’ discriminatory actions have frustrated EHOC’s mission and

forced it to divert resources from other purposed to investigate and combat Defendants’

discriminatory actions. As a result of diverting personnel resources to investigate Defendants,

EHOC employee Katina Combs was unable to initiate sales and lending testing that she had

planned on beginning in September 2011 and was unable to devote her time to assist a potential

client who had contacted EHOC on August 25, 2011 seeking assistance on a foreclosure issue.


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 While the court in Montgomery Newspapers ultimately found that the facts of that case were
insufficient to “substantiate any perceptible impairment to the mission,” that finding was premised on
the failure to identify a connection between the organization’s diversion of resources and the
defendant’s actions. Id. Unlike the present action, Montgomery Newspapers dealt with an
organization claiming standing by means of an investigation of a broad base of housing providers
rather than the focused testing of a specific housing provider. Id.


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(Defs. Ex. 2, Pl.’s First Am. Compl., ¶ 2.) Accordingly, Defendants’ discriminatory actions have

frustrated EHOC’s mission, both generally by decreasing the overall availability of equal and

open housing and specifically, by preventing EHOC from working on other projects.

        b. EHOC has been forced to divert time and other resources investigate
           Defendants’ discriminatory actions.

        It is not necessary for a fair housing organization, like EHOC, to show that it that it has

been forced to make certain “specific quantifiable expenditures” to demonstrate injury in fact.

Saunders v. General Services Corp.. 659 F.Supp. 1042, 1052 (E.D. Va. 1987). The only

requirement is that the organization can demonstrate “some perceptible impairment in its role of

facilitating open housing.” Id. Courts have found that “the mere fact that the plaintiff had

devoted resources to investigating the alleged discrimination was sufficient” to establish

standing, even where the plaintiff “did not indicate[] what [it] would have otherwise done with

those resources.” Fair Housing Council, Inc. v. Village of Olde St. Andrews, Inc., 210 Fed.

Appx. 469, 478 (6th Cir. 2006) (citing Hooker v. Weathers, 990 F.2d 913, 915 (6th Cir. 1993)).

Organizations do not need to “prove that they cut other services due to [their] investigation,” as

“anytime an organization such as the Fair Housing Council funds a particular project . . . the pool

of resources that it has to combat other instances of discrimination grows smaller.” Id. “In our

world of scarce resources, every expenditure of money, time, or other resources results in the

loss of benefit that would have resulted if the same time or money had been spent on something

else.” Id.

        Where a fair housing organization devotes staff time to investigating a defendant’s

discriminatory actions, damages can measured by determining a fair compensation for the

agency’s time spent in its investigation. In United States v. Balistieri, 981 F.2d 916, 924 (7th Cir.

1992), the Seventh Circuit examined claims by a fair housing organization that conducted a test



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of a housing provider that “was not prompted by any complaints about discrimination but rather

was intended to provide a new tester the opportunity to conduct a test.” After the conclusion of

that test, the fair housing organization determined that there may be evidence of discrimination

and that additional testing was warranted. Id. The court upheld a damage award of $5,000 based

on the value of the time spent “conducting tests . . . and following up on the results of those

tests.” Id. at 933. The court reasoned that where the organization’s employee was able to

“testif[y] about the staff time spent on that effort and the cost of that effort, and explain[] he

figures to the jury . . . the jury could reasonably find that the [organization] had suffered

damages.” Id.

       The evidence cited in Defendants’ Statement of Undisputed Material Facts, in addition to

other evidence that has been disclosed to Defendants through the discovery process, clearly

establishes that EHOC invested non-trivial time and resources into pre-litigation investigation of

the Defendants’ property once EHOC learned of Defendants’ discrimination. EHOC has

provided time records for its Testing Coordinator clearly listing, by date of activity performed,

each investigation task performed and the time spent on those activities. (Defs. Ex. 10, Katina

Combs Time Sheet.) These pre-litigation activities included:

          Scouting the area for listings of available apartments;

          Creating tester profiles for testers assigned to investigate Defendants’ property;

          Assigning and debriefing testers who investigated Defendants’ property;

          Preparing testing summaries of tests of Defendants’ property; and

          Analyzing testing results to determine whether there was evidence of discrimination.

Id. In addition, EHOC has provided an hourly rate for its employees, documented by reference to

the agency’s budget at the time the tests occurred. (Pl. Ex. 4, Katina Combs Salary (2011).)



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Overall, EHOC’s Testing Coordinator spent 70 hours in pre-litigation investigation of

Defendants. (Defs. Ex. 10, Katina Combs Time Sheet.) Additionally, EHOC has also diverted its

testers from other activities to test the Defendants’ properties.

       Moreover, EHOC’s funding from the United States Department of Housing and Urban

Development (“HUD”) under the Fair Housing Initiatives Program (“FHIP”) is irrelevant, under

the collateral source rule, to establishing that it has diverted resources to investigate defendants.

Where state law recognizes a collateral source doctrine, federal courts will as well. See Overton

v. United States, 619 F.2d 1299, 1306 (8th Cir. 1980). The common law collateral source rule

provides that a tort award should not be offset by compensation that a plaintiff receives from

another source. Id. “The rule permits recovery against a wrongdoer for the full amount of

damages even though the plaintiff is also compensated from a different source . . . which is

‘wholly independent’ of the wrongdoer and whose payment is therefore collateral to his.” Id.

(citing Iseminger v. Holden, 544 S.W.2d 550, 552 (Mo. 1976)). Additionally, the Missouri

collateral source rule assumes that a “plaintiff deserves any additional compensation he may

receive because he has contracted for it.” Id. “One can justify a double recovery where the

original source was supplied by the plaintiff, himself, out of resources that would otherwise have

been available to him for other purposes.” Id. (internal quotes and citations omitted).

       The collateral source rule applies to claims under the FHA. See Baltimore

Neighborhoods, Inc. v. LOB, Inc., 92 F. Supp. 2d 456, 465 n. 9 (D. Md. 2000). “A damages

action under the [FHA] sounds basically in tort.” Curtis v. Loether, 415 U.S. 189, 195. Other

courts have applied the collateral source rule in federal discrimination cases, including cases

under the FHA. E.g. Baltimore Neighborhoods, 92 F.Supp. 2d at 465 (applying rule in FHA




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case); Thurman v. Yellow Freight Sys., Inc., 90 F.3d 1160, 1171 (6th Cir.1996) (applying rule in

Title VII case).

       EHOC’s HUD funding is collateral and not double compensation because it was not

awarded specifically to compensate EHOC for the costs it incurred investigating Defendants’

discriminatory practices. While EHOC made a decision to use grant funding to support further

investigation into Defendants’ rental practices after their first test revealed evidence of

discrimination, EHOC’s grant obligation did not require EHOC to use the grant money for that

particular purpose. Accordingly, as the funds could have been used for another purpose (e.g. to

conduct additional audit testing on other housing providers), the collateral source rule applies

and the receipt of grant money does not offset damages. See Baltimore Neighborhoods at 465 n.

9 (refusing to offset a FHIP award in an FHA case on the grounds that “while [a fair housing

organization] used the grant [to address a defendant’s discrimination], it could have been used

for another purpose”); see also Village of Olde St. Andrews, Inc., 210 Fed. Appx. at 478 (“[T]he

mere fact that the Fair Housing Council had already allocated funds [from a HUD grant] for the

use of testers does not mean that the use of a portion of those funds to investigate [defendant]

does not amount to a concrete injury.”).

       c. EHOC’s damages are fairly traceable to Defendants’ discriminatory actions.

       The Eighth Circuit has not addressed the issue of a fair housing organization’s standing

through testing, but it has looked at standing for fair housing organizations in other contexts. In

Arkansas ACORN, 160 F.3d at 434, the Eighth Circuit examined a fair housing organization’s

claim for damages based on discriminatory advertising. The organization in that case contended

that its “staff members spent a minimum of 15 hours per month monitoring advertising of

housing providers—including advertising published by [defendants]—and identifying violators

of fair housing laws.” Id. The court recognized that “distinct and palpable injuries that are fairly


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traceable to petitioner's actions . . . [satisfy] the Art. III requirement of injury in fact” and that

“the deflection of an organization's monetary and human resources from counseling or

educational programs to legal efforts aimed at combating discrimination, such as monitoring and

investigation, is itself sufficient to constitute an actual injury.” Id. Based on the facts of that case,

though, the court determined that the organization was unable to show that its injury was “fairly

traceable” to defendants. Id. Instead of identifying resources specifically used to monitor the

defendant, the organization in that case asserted that it diverted resources “monitoring

advertisements of a broad base of housing providers.” Id. It provided “no facts to quantify the

resources, if any, that were expended to counteract the effects of a single, allegedly

discriminatory advertisement” and could not identify “what resources were used in identifying

[defendant] in particular as an alleged violator of the FHA . . . [or] in determining the

discriminatory effects specifically attributable to [defendant’s] advertisements.” Id. Accordingly,

while the court accepted that the organization had diverted resources, it rejected standing because

the organization was unable to show that those resources had been directed towards a specific

defendant. Id.

        In contrast, EHOC’s diversion of resources in this case was directly attributable to the

Defendants’ discriminatory conduct. Unlike the organization in Arkansas ACORN, EHOC’s

damages are not based on monitoring or investigating a “broad base of housing providers.”

Instead, EHOC’s diversion of resources was targeted specifically to investigate the Defendants.

Unlike the plaintiff in Arkansas ACORN, 160 F.3d 434, who could not identify “what resources

were used in identifying [defendant] in particular as an alleged violator of the FHA,” all of

EHOC’s resources were used to identify specific violations of the FHA by Defendants during




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tests of their properties. The discriminatory actions in this case were made directly by

Defendants to EHOC’s testers.

        As the Eleventh Circuit recognized in Central Alabama, 236 F.3d at 642, “an

organization incurs diversion of resources and frustration of purpose damages as a result of

specific documented incidents of unlawful discrimination toward its testers.” Because of

Defendants’ documented discriminatory actions toward EHOC’s testers, EHOC’s damages are

fairly traceable to Defendants.

        d. EHOC’s damages are not self-inflicted.

        Despite Defendants’ assertion to the contrary, EHOC has not “manufactured” its injury in

this case. In evaluating fair housing cases, the Circuits have split as to whether a fair housing

organization “must demonstrate that it suffered a concrete injury that is completely independent

from the economic and non-economic costs of litigation” or whether it can claim standing based

solely on “showing that they devoted resources to litigation to counteract the defendant’s

housing discrimination.” Olde St. Andrews 210 Fed. Appx. at 474. The Eighth Circuit falls in the

latter group. Arkansas ACORN 160 F.3d at 434-35 (“[T]he deflection of an organization’s

monetary and legal programs to legal efforts aimed at combatting discrimination, such as

monitoring and investigation, is itself sufficient to constitute an actual injury in fact.”); see also

Olde St. Andrews at 475 (identifying the Eighth Circuit, along with the Second, Sixth, and

Seventh Circuits, as following the “more lenient approach” to standing). Defendants’ claim that

EHOC cannot establish standing for its subsequent race tests because the initial discriminatory

motive was based on familial status is not only completely without legal justification, but also

relies on the false assertion that the original test did not establish evidence of discrimination

based on race and/or color.




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       Defendants’ argue that their discrimination against EHOC’s testers in the June 2011 test

did not establish an injury-in-fact fairly traceable to Defendants because the test was a “self-

imposed budgetary choice.” (Defs.’ Mem. In Supp. of their Joint Mot. For Summ. J. at 15.) Even

if this Court accepts Defendants’ argument, once EHOC documented specific incidents of

unlawful discrimination towards its testers and diverted additional resources to conduct follow-

up testing, those additional resources were directly traceable to Defendants’ actions. Regardless

of whether the original discrimination identified was based on race, familial status, or other

protected class, EHOC’s decision to conduct follow up testing would not have been made but for

the Defendants’ discriminatory actions, and is therefore fairly traceable to Defendants.

       Furthermore, there is nothing implausible about the idea that Defendant Jezewak could

have known (or at least made assumptions) about the race of EHOC’s testers based on their

phone calls alone. The vast majority of courts that have addressed the admissibility of racial

voice identification evidence have concluded it is admissible. E.g. Clifford v. Chandler, 333 F.

3d 724, 731 (6th Cir. 2003) (“[W]e cannot conclude the mere identification of the race of an

individual by the sound of his voice would be inherently unreliable.”); United States v. Card, 86

F.Supp. 2d 1115, 1118 (D.Utah 2000) (testimony perpetrator of robberies sounded like African-

American admissible); State v. McDaniel, 392 S.W.2d 310 (Mo., 1965) (upholding admissibility

of an opinion as to whether an accent belonged to an African–American). Accordingly, given

the Defendants’ inconsistent, and potentially pretextual, use of the occupancy standards to justify

a refusal to negotiate with an African American tester, EHOC’s decision to conduct additional

investigation into Defendants’ potential racial discrimination and fairly traceable to Defendants’

actions.




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                                          Conclusion

       For the forgoing reasons, EHOC has demonstrated evidence that it has standing in this

case and Defendants’ Motion for Summary Judgment should be denied.




Dated: December 14, 2015                    Respectfully submitted,

                                            METROPOLITAN ST. LOUIS EQUAL HOUSING &
                                            OPPORTUNITY COUNCIL

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was sent via the Court’s electronic notification system this 14th day of December 2015, to the
following counsel of record:

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